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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Joshua Whitman
                            Plaintiff,
v.                                              Case No.: 1:24−cv−01987
                                                Honorable Franklin U. Valderrama
Match Group, LLC
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 3, 2024:


        MINUTE entry before the Honorable Franklin U. Valderrama: Pursuant to the
Notice of Voluntary Dismissal [11] and Federal Rule of Civil Procedure 41(a)(1)(A), this
case is dismissed without prejudice. Civil case terminated. Emailed notice. (mma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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